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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               October 20, 2021
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

JOSE A. MALDONADO, et al.,                       §
                                                 §
                       Plaintiff,                §
                                                 §
VS.                                              §   CIVIL ACTION NO. H-20-1484
                                                 §
FIRSTSERVICE RESIDENTIAL, INC.,                  §
et al.,                                          §
                                                 §
                       Defendant.                §

               ORDER GRANTING AGREED PERMANENT INJUNCTION

       The following agreed permanent injunction is entered as to Jose A. Maldonado and Maria

R. Maldonado, the plaintiffs, and Royal Brook Community Association, Inc. and FirstService

Residential, Inc., the defendants.

       Based on the parties’ submissions, the hearings, the record, and the applicable law, the

court enters the following:

   1) Jose and Maria Maldonado, the plaintiffs, own the residence located at 3211 Skylark

       Valley Trace, Porter, Texas 77365, inside the Royal Brook at Kingwood subdivision,

       Section 1.

   2) The plaintiffs own Kingwood Rental, LLC. Kingwood Rental owns a trailer registered

       with the State of Texas and Jose Maldonado owns a trailer also registered with the State

       of Texas. Kingwood Rental also owns a white Ford 250 van, also registered with the

       State of Texas and bearing license plate number MXN-7414.

       The following injunction is effective immediately and, unless otherwise modified by the

court, is binding on: the parties; on their agents, servants, employees, and attorneys; and on those
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persons in active concert or participation with them who receive actual notice of this injunction

by personal service or otherwise:

       The plaintiffs are enjoined from parking or storing the white Ford 250 van and Kingwood

Rental trailer in the subdivision, except as follows:

   1) The plaintiffs may park their white Ford 250 van in the driveway of their residence, but if

       two vehicles, including the van, are parked in the driveway of the residence, the plaintiffs

       may park a third vehicle of their choosing on the street immediately in front of their

       residence.

   2) The plaintiffs may park the trailer owned by Kingwood Rental or the trailer owned by

       Mr. Maldonado in the driveway of their residence, and only in the driveway, from the

       hours of 6:00 a.m. to 6:00 p.m., or a portion thereof, for eight days in 2022. The

       plaintiffs must provide at least 24 hours advance notice in writing to Royal Brook

       Community Association of their intent to park the trailer in the driveway of their

       residence. Additional requests to park either trailer in the driveway for the purpose of

       emergency or other repairs or maintenance to the residence, from the hours of 6:00 a.m.

       to 6:00 p.m., or a portion thereof, must be specific and presented in writing to, and not

       unreasonably denied or limited by, the Royal Brook Community Association.

       The court retains jurisdiction for the purpose of implementing and enforcing this

permanent injunction, including to enter additional orders to effectuate the fair and orderly




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implementation of the injunction and to resolve disputes arising from or relating to the

injunction.

       SIGNED on October 20, 2021, at Houston, Texas.


                                         _______________________________________
                                                      Lee H. Rosenthal
                                               Chief United States District Judge




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